925 F.2d 490
    288 U.S.App.D.C. 259
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.James A. SUTTON, Appellant,v.Joseph E. JENIFER, Public Printer.
    No. 90-5040.
    United States Court of Appeals, District of Columbia Circuit.
    Jan. 31, 1991.
    
      Before MIKVA, Chief Judge, and SENTELLE and HENDERSON, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of appellee's motion for summary affirmance, it is
    
    
      2
      ORDERED that the motion be granted substantially for the reasons stated by the district court in its memorandum and order filed January 4, 1990.  The merits of the parties' positions are so clear as to justify summary action.    See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);  Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 15.
    
    